        Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 1 of 8



                                                                   F!' n
                   UNITED STATES DISTRICT COURT L'.,                       rT
                  SOUTHERN DISTRICT OF GEORGIA
                                                                   2d1 P 12: 39
                         STATESBORO DIVISION


RODNEY LORENZO SCOTT,               )

       Movant,

V.
                                                CV615-106
UNITED STATES OF AMERICA,                       CR612-018

       Respondent.                        )




                                   ORDER

       Convicted and sentenced after a jury trial for his participation in a

drug distribution conspiracy, does. 754, 755, 1 Rodney L. Scott moves

under 28 U.S.C. § 2255 to have his sentence reduced from life

imprisonment. Does. 1149 & 1151. As set forth in the Magistrate

Judge's Report and Recommendation (R&R):

     Movant was charged with conspiring to possess with intent
     to distribute 280 grams or more of cocaine base, five
     kilograms or more of cocaine hydrochloride, and quantities
     of ecstasy and marijuana (Count 1), plus three counts of
     using a communication facility (telephone) to facilitate the
     conspiracy (Counts 39, 65 & 106). Doc. 3.

     Scott and one of his co-defendants proceeded to trial and
     were found guilty on every count. Docs. 754 & 755. As

' The Court is citing to the criminal docket in CR612-018 unless otherwise
noted, and all page numbers are those imprinted by the Court's docketing
software.
   Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 2 of 8




part of a special verdict form, the jury also found that Scott
and his co-defendant had conspired to distribute 280 grams
or more of cocaine base and five kilograms or more of
cocaine hydrochloride. id Prior to trial, the Government
had filed a 21 U.S.C. § 851 notice of its intention to seek
enhanced penalties based on Scott's prior felony drug
convictions, thus subjecting him to a mandatory life
sentence Doc. 709; see 21 U.S.C. N 841(b)(1)(A), 846.
The Court, however, granted the Government's motion to
withdraw the notice prior to sentencing, thus reducing
Scott's exposure to the unenhanced penalty -- 10 years to
life. Docs. 983; 984 at S.

Scott's Presentence Investigative Report added nine points
to his drug-offense Guideline level of 32 -- two for the
possession of a firearm, two for the maintenance of a
residence for the purpose of manufacturing and distributing
crack cocaine, two for the commission of the offense as part
of a criminal livelihood, three for an aggravating role, and
two for obstruction of justice -- for a total offense level of
43. PSR at 111 33-43. Because Scott's criminal history
placed him within category Ill under the Guidelines, the
advisory range of imprisonment was life imprisonment. id
at ¶ 55 (prior convictions scoring six criminal history points
under the Guidelines); 11 78 (life imprisonment advised for
total offense level of 43 and criminal history category Ill).
Scott objected only to the three-level aggravating role
adjustment, it, Addendum at 1, which the Court overruled
after a hearing. Doc. 984 at 18. It sentenced him to life
imprisonment. id. at 19-25.

Scott appealed, arguing, inter a/ia, that (1) insufficient
foundation existed for the admission of certain wiretapped
telephone conversations; (2) a law enforcement agent
improperly testified as an expert at trial; (3) his prior drug
convictions were improperly admitted at trial; (4) his drug-
related tattoos were improperly admitted at trial; and (5) he
should not have received a three-level aggravating role
adjustment. Doc. 1078; United States v. Stanton, 589 F.
      Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 3 of 8




  App'x 477 (11th Cir. 2014). After briefing and oral
  argument, the Eleventh Circuit affirmed his conviction. See
  Id. Upon Scott's pro se motion for a reduced sentence
  under 18 U.S.C. § 3582(c)(2), the Court granted a two-level
  offense level reduction and reduced his sentence from life
  imprisonment to 360 months' imprisonment. Docs. 1107 &
  1128.

Doc. 1294 at 2-4. Scott argues that prosecutorial misconduct,

district court errors, and ineffective assistance of counsel (IAC)

claims warrant overturning his sentence. Docs. 1149 & 1151.

In support of his motion, movant attached a signed affidavit, which

he argued offers unrebutted evidence of both his factual

innocence (that it was not him on the phone recordings, that he

and his codefendant did not deal drugs together), and that his

counsel failed in several meaningful ways. Doc. 1251 at 65-66.

He also attached an affidavit purportedly signed by his

codefendant, Terrance Stanton, supporting some of Scott's

contentions. Id. at 68.

     The Magistrate Judge found that movant's allegations of

prosecutorial misconduct were baseless, because the extramarital

affair he cited had "absolutely nothing" to do with Scott's case.

Doc. 1294 at 5-7. The Court further found that counsel was



                                    3
      Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 4 of 8




sufficient (id at 7-19), and that Scott's other claims of errors by

the trial court were procedurally barred (id at 19-21). Nothing in

Scott's objections undercuts the Magistrate Judge's well-reasoned

report. Rather, movant repeats the same arguments already

addressed in the R&R, doubling down on his contention that the

affidavits he attached are "unrebutted" evidence that, inter a/ia,

counsel failed to investigate his innocence, the prosecution was

out to get him, a severance motion would have been successful,

he and his codefendant never dealt drugs together, his voice was

misidentified on the phone recordings, counsel failed to present

evidence to the jury that while Scott was indeed a drug dealer he

was not a dealer involved in the conspiracy charged, and the

Government's witness was actually a lay witness but the jury was

led to think him an expert on drug vernacular. Doc. 1300.

     As an initial matter, the submission of signed affidavits by

Scott and his codefendant -- submitted, it may be noted, in mutual

support of their § 2255 motions that are proceeding

simultaneously before the Court              --   does not constitute

"unrebutted" evidence.       See Drew v Dept of Corr, 297 F.3d



                                    4
      Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 5 of 8




1278, 1293 n.7 (11th Cir.2002) (it is not sufficient to merely

allege facts that would support relief because "clear precedent

establish[es] that such allegations are not enough to warrant an

evidentiary hearing in the absence of any specific factual proffer

or evidentiary support."). Post-trial, self-serving affidavits, such

as those relied upon here, are viewed with extreme suspicion.

See Drew v. Scott, 28 F.3d 460, 462-63 (5th Cir. 1994). As

discussed in the R&R, his codefendant's affidavit that "would

have" done things to exculpate Scott, while failing to inculpate

himself in any way, is at best "of dubious creditability." Doc.

1294 at n.5.

     For that matter, Scott's own conclusory affidavit, lacking

reference to actual, creditable evidence of his innocence or

counsel's deficient performance other than his own self-serving

uncorrobated statements, adds nothing.            See Dorta v. United

States, 2009 WL 762211 at *3 (S.D. Fla. Mar. 19, 2009).

Scott presents no new, reliable evidence countering the

overwhelming and largely unrebutted evidence of his factual guilt

and demonstrating his factual innocence.           See Schiup v. Delo,



                                    S
      Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 6 of 8




513 U.S. 298, 324 (1995) ("a substantial claim that

constitutional error has caused the conviction of an innocent

person is extremely rare. . . . To be credible, such a claim

requires [a movant] to support his allegations of constitutional

error with new reliable evidence -- whether it be exculpatory

scientific evidence, trustworthy eyewitness accounts, or critical

physical evidence -- that was not presented at trial."). As

explained in the R&R, each of Scott's IAC claims fails on the

merits, see doc. 1294 at 9-19, and movant offers nothing aside

from his own allegations to contradict those conclusions.               See

Mostowicz v United States, 2013 WL 11320054 at *8 (S.D. Fla.

Apr. 11, 2013). Finally, movant's assertion that trial and

appellate counsel was required to affirmatively rebut his meritless

allegations in his own affidavit is also utterly without merit.

     After a careful, de novo review of the file, the Court concurs

with the Magistrate Judge's Report and Recommendation, doc.

1294, to which objections have been filed, doc. 1300.

Accordingly, the Report and Recommendation of the Magistrate

Judge is ADOPTED as the opinion of the Court.



                                    6
       Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 7 of 8




     Further, a prisoner seeking relief under 28 U.S.C. § 2255

must obtain a certificate of appealability ("COA") before appealing

the denial of his application for writ of habeas corpus. 28 U.S.C.

§ 2253(c)(1)(B). This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the

applicant." Rule 11(a) to the Rules Governing Section 2255

Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional

right." 28 U.S.C. § 2253(c)(2). For the reasons set forth in the

Report and Recommendation, and in consideration of the

standards enunciated in Slack v McDaniel, 529 U.S. 473, 482-

84 (2000), petitioner Rodney Lorenzo Scott has failed to make

the requisite showing. Accordingly, a COA is DENIED in this

case.2 Moreover, because there are no non-frivolous issues to

raise on appeal, an appeal would not be taken in good faith.

Accordingly, petitioner is not entitled to appeal in forma pauperLs

See 28 U.S.C. § 1915(a)(3).


2
   "If the court denies a certificate, [a party] may not appeal the denial but
may seek a certificate from the court of appeals under Federal Rule of
Appellate Procedure 22." Rule 11(a) to the Rules Governing Section 2255
Proceedings.

                                      7
Case 6:12-cr-00018-JRH Document 1310 Filed 03/29/17 Page 8 of 8




SO ORDERED, this l-'° day of[Mrch, 2017.


                                    DBEYWOOD, CHIEF JUDGE
                                    STATES DISTRICT COURT
                                    RN DISTRICT OF GEORGIA




                              8
